        Case 1:25-cv-01248-RC         Document 35       Filed 05/29/25     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

LEARNING RESOURCES, INC., et al.,               :
                                                :
       Plaintiffs,                              :      Civil Action No.:      25-1248 (RC)
                                                :
       v.                                       :      Re Document Nos.:      8, 9
                                                :
DONALD J. TRUMP, et al.,                        :
                                                :
       Defendants.                              :

                                           ORDER

DENYING DEFENDANTS’ MOTION TO TRANSFER VENUE; GRANTING PLAINTIFFS’ MOTION FOR
                          A PRELIMINARY INJUNCTION

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Defendants’ motion to transfer (ECF No. 8) is DENIED; and

Plaintiffs’ motion for a preliminary injunction (ECF No. 9) is GRANTED. It is hereby:

       DECLARED that the tariffs deriving from Executive Order 14,195, Imposing Duties To

Address the Synthetic Opioid Supply Chain in the People’s Republic of China; Executive Order

14,228, Further Amendment to Duties Addressing the Synthetic Opioid Supply Chain in the

People’s Republic of China; Executive Order 14,257, Regulating Imports with a Reciprocal

Tariff to Rectify Trade Practices that Contribute to Large and Persistent Annual United States

Trade Deficits; Executive Order 14,259, Amendment to Reciprocal Tariffs and Updated Duties

as Applied to Low-Value Imports from the People’s Republic of China; and Executive Order

14,266, Modifying the Reciprocal Tariff Rates to Reflect Trading Parter Retaliation and

Alignment, are unlawful; and it is
         Case 1:25-cv-01248-RC          Document 35        Filed 05/29/25      Page 2 of 2




        FUTHER DECLARED that the International Economic Emergency Economic Powers

Act does not authorize the President to impose the tariffs set forth in the above-listed orders; and

it is

        ORDERED that Defendants are preliminarily enjoined from collecting any tariff

deriving from the above-listed orders from Plaintiffs Learning Resources, Inc., and hand2mind,

Inc., and it is

        FURTHER ORDERED that the preliminary injunction ordered herein shall be

STAYED for fourteen days so that the parties may seek review in the Court of Appeals.

        SO ORDERED.

        This is an immediately appealable order under 28 U.S.C. § 1292(a)(1).


Dated: May 29, 2025                                                RUDOLPH CONTRERAS
                                                                   United States District Judge




                                                 2
